       Case: 1:19-cv-06670 Document #: 8 Filed: 01/17/20 Page 1 of 2 PageID #:24




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

PLUMBERS’ PENSION FUND, LOCAL 130, U.A.,                  )
PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.,                  )
THE TRUST FUND FOR APPRENTICE AND                         )
JOURNEYMAN EDUCATION AND TRAINING,                        )
LOCAL 130, U.A., PLUMBERS’ RETIREMENT                     )
SAVINGS PLAN FUND, LOCAL 130, U.A., and                   )
CHICAGO JOURNEYMEN PLUMBERS’ LOCAL                        )
UNION 130, U.A., GROUP LEGAL SERVICES PLAN                )
FUND,                                                     )
                                                          )      Case No.: 19 CV 6670
                                                          )
                               Plaintiffs,                )      Honorable Judge Pacold
                                                          )
         v.                                               )      Magistrate Judge Cummings
                                                          )
STARR PLUMBING, INC,                                      )
                                                          )
                               Defendant.                 )

                                     NOTICE OF MOTION

TO:      Starr Plumbing, Inc.
         Ms. Laura A. Scatchell, Registered Agent
         912 Norwood Drive
         Melrose Park, IL 60160


       PLEASE TAKE NOTICE that on January 23, 2020 I shall appear before the Honorable
Judge Pacold at approximately 9:30 a.m. in Courtroom 1425, at the Everett McKinley Dirksen
Building located at 219 South Dearborn Street, Chicago, Illinois, where I shall then and there
present my Motion for Default.

                                             s/: Michael J. McGuire
                                             By: Michael J. McGuire
Michael J. McGuire
ARDC #:6290180
Gregorio ♦ Marco
Attorney for Plaintiffs
2 North LaSalle Street
Chicago, IL 60602
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STATE OF ILLINOIS)
                          ) SS
COUNTY OF COOK )

   Sonya Bain being first duly sworn on oath, deposes and says that she served the above and
foregoing Motion for Default by depositing in the U.S. mail at Two North LaSalle Street, Suite
1650, Chicago, IL, a true and correct copy thereof in a sealed envelope first class postage prepaid
addressed to the person to whom said Notice is directed on the 17th day of January, 2020.

         Starr Plumbing, Inc.
         Ms. Laura A. Scatchell, Registered Agent
         912 Norwood Drive
         Melrose Park, IL 60160



Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure
[735 ILCS 5/1-109], the undersigned certifies that the Statements set forth in this instrument
are true and correct, except as to Matters therein stated to be on information and belief and
as to matters the Undersigned certifies as aforesaid that he verily believes the same to be
true.


                                      /s/: Sonya Bain
                                      By: Sonya Bain
Gregorio ♦ Marco
Attorney for Plaintiffs
2 North LaSalle Street
Chicago, IL 60602
(312) 263-2343
